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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :       CASE NO. 21-cr-605 (RC)
               v.                            :
                                             :
ISAAC WESTBURY,                              :
AARON JAMES,                                 :
ROBERT WESTBURY, and                         :
JONAH WESTBURY,                              :
                                             :
                      Defendants.            :

                    GOVERNMENT’S OPPOSITION TO DEFENDANT’S
                          MOTION TO TRANSFER VENUE

       Defendants, Isaac Westbury, Aaron James, Robert Westbury, and Jonah Westbury, who

are charged in connection with events at the U.S. Capitol on January 6, 2021, have moved to

transfer venue in this case to District of Minnesota. The defendants fail to establish that they

“cannot obtain a fair and impartial trial” in this district, Fed. R. Crim. P. 21(a), and this Court

should deny his motion.1



       1
          Judges on this Court have denied motions for change of venue in dozens of January 6
prosecutions, and no judge has granted a change of venue in a January 6 case. See, e.g., United
States v. Ramey, 22-cr-184, Minute Entry (D.D.C. Jan. 30, 2023) (DLF); United States v.
Eckerman, et al., No. 21-cr-623, Minute Order (D.D.C. Jan. 26, 2023) (CRC); United States v.
Pollock, et al., No. 21-cr-447, Minute Entry (D.D.C. Jan. 25, 2023) (CJN); United States v.
Gossjankowski, No. 21-cr-12, ECF No. 114 (D.D.C. Jan. 25, 2023) (PLF); United States v. Adams,
No. 21-cr-212, ECF No. 60 (D.D.C. Jan. 24, 2023) (ABJ); United States v. Rhine, No. 21-cr-687,
ECF No. 78 (D.D.C. Jan. 24, 2023) (RC); United States v. Oliveras, No. 21-cr-738, ECF No. 52
(D.D.C. Jan. 17, 2023) (BAH); United States v. Sheppard, No. 21-cr-203, ECF No. 62 (D.D.C.
Dec. 28, 2022) (JDB); United States v. Samsel, et al., No. 21-cr-537, ECF No. 227 (D.D.C. Dec.
14, 2022) (JMC); United States v. Gillespie, No. 22-cr-60, ECF No. 41 (D.D.C. Nov. 29, 2022)
(BAH); United States v. Barnett, No. 21-cr-38, ECF No. 90 (D.D.C. Nov. 23, 2022) (CRC); United
States v. Bender, et al., No. 21-cr-508, ECF No. 78 (D.D.C. Nov. 22, 2022) (BAH); United States
v. Sandoval, No. 21-cr-195, ECF No. 88 (D.D.C. Nov. 18, 2022) (TFH); United States v. Vargas
Santos, No. 21-cr-47, Minute Entry (D.D.C. Nov. 16, 2022) (RDM); United States v. Nordean, et
al., No. 21-cr-175, ECF No. 531 (D.D.C. Nov. 9, 2022) (TJK); United States v. Ballenger, No. 21-
719, ECF. No. 75 (D.D.C. Oct. 28, 2022) (JEB); United States v. Eicher, No. 22-cr-38, ECF No.
34 (D.D.C. Oct. 20, 2022) (CKK); United States v. Schwartz, et al., No. 21-cr-178, ECF No. 142


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                                          BACKGROUND

       On January 6, 2021, a Joint Session of the United States House of Representatives and the

United States Senate convened to certify the vote of the Electoral College of the 2020 U.S.

Presidential Election. While the certification process was proceeding, a large crowd gathered

outside the United States Capitol, entered the restricted grounds, and forced entry into the Capitol

building. As a result, the Joint Session and the entire official proceeding of the Congress was

halted until law enforcement was able to clear the Capitol of hundreds of unlawful occupants and

ensure the safety of elected officials.

       Robert Westbury and his three sons (Isaac, Jonah, and Aaron James) traveled from

Minnesota to Washington, D.C. A joint session of the United States Congress convened at the

United States Capitol at approximately 1:00 p.m. to certify the vote count of the Electoral College

of the 2020 Presidential Election, which had taken place on November 3, 2020. Temporary and




(D.D.C. Oct. 11, 2022) (APM); United States v. Nassif, No. 21-cr-421, ECF No. 42 (D.D.C. Sep.
12, 2022) (JDB); United States v. Brock, No. 21-cr-140, ECF No. 58 (D.D.C. Aug. 31, 2022)
(JDB); United States v. Jensen, No. 21-cr-6, Minute Entry (D.D.C. Aug. 26, 2022) (TJK); United
States v. Seitz, No. 21-cr-279, Minute Order (D.D.C. Aug. 17, 2022) (DLF); United States v.
Strand, No. 21-cr-85, ECF No. 89 (D.D.C. Aug. 17, 2022) (CRC); United States v. Williams, No.
21-cr-618, ECF No. 63 (D.D.C. Aug. 12, 2022) (ABJ); United States v. Herrera, No. 21-cr-619,
ECF No. 54 (D.D.C. August 4, 2022) (BAH); United States v. Garcia, No. 21-cr-129, ECF No. 83
(D.D.C. July 22, 2022) (ABJ); United States v. Rusyn, et al., No. 21-cr-303, Minute Entry (D.D.C.
July 21, 2022) (ABJ); United States v. Bledsoe, No. 21-cr-204, Minute Order (D.D.C. July 15,
2022) (BAH); United States v. Calhoun, No. 21-cr-116, Minute Order (D.D.C. July 11, 2022)
(DLF); United States v. Rhodes, et al., No. 22-cr-15, ECF No. 176 (D.D.C. June 28, 2022) (APM);
United States v. Williams, No. 21-cr-377, Minute Entry (D.D.C. June 10, 2022) (BAH); United
States v. McHugh, No. 21-cr-453, Minute Entry (D.D.C. May 4, 2022) (JDB); United States v.
Hale-Cusanelli, No. 21-cr-37, Minute Entry (D.D.C. Apr. 29, 2022) (TNM); United States v.
Webster, No. 21-cr-208, ECF No. 78 (D.D.C. Apr. 18, 2022) (APM); United States v. Alford, 21-
cr-263, ECF No. 46 (D.D.C. Apr. 18, 2022) (TSC); United States v. Brooks, No. 21-cr-503, ECF
No. 31 (D.D.C. Jan. 24, 2022) (RCL); United States v. Bochene, No. 21-cr-418, ECF No. 31
(D.D.C. Jan. 12, 2022) (RDM); United States v. Fitzsimons, No. 21-cr-158, Minute Order (D.D.C.
Dec. 14, 2021) (RC); United States v. Reffitt, No. 21-cr-32, Minute Order (D.D.C. Oct. 15, 2021)
(DLF); United States v. Caldwell, 21-cr-28, ECF No. 415 (D.D.C. Sept. 14, 2021) (APM).


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permanent barricades were in place around the exterior of the U.S. Capitol building, and U.S.

Capitol Police (USCP) were present and attempting to keep the crowd that had gathered outside

away from the Capitol building and the proceedings underway inside. Members of the

Metropolitan Police Department (MPD) were called to the Capitol to assist the USCP.

       Shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,

including by breaking windows and by assaulting members of the USCP, as others in the crowd

encouraged and assisted those acts. Within minutes, rioters flooded the Capitol building and fanned

out within it. Some of them were armed. Some explicitly called for violence against lawmakers.

At approximately 2:20 p.m., with rioters gathered just outside the House and Senate chambers,

members of the United States House of Representatives and United States Senate -- and not at the

same time --, including the President of the Senate, Vice President Mike Pence, suspended the

joint session of Congress and evacuated the chambers. Each of the defendants entered the Capitol

building through the Rotunda Doors at approximately 2:40 p.m.

       Over the course of several hours, rioters and police officers clashed both inside and outside

of the Capitol building. Many rioters used makeshift weapons to assault police officers.

Defendants Isaac Westbury and Aaron James were among the rioters who assaulted officers. 2

Shortly before 4:28 p.m., defendants Isaac Westbury and Aaron James joined in an assault on the

police line at the Lower West Terrace also referred to as the Tunnel that had been ongoing for

nearly two hours. They engaged in a physical altercation with MPD Officers C.M., S.S., and other

officers. U.S. Capitol CCTV cameras, officer body worn cameras, and third-party cameras




2
 Robert Westbury and Jonah Westbury are co-defendants in the Second Superseding Indictment
but are not charged in Count Three.


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recorded the defendants as they emerged from the crowd and walked towards the line of officers

defending the Tunnel against other rioters.

        Immediately prior to the defendants’ physical altercation with the officers, a period of

fierce fighting had occurred. For the second time that day, the mob had succeeded in pushing the

police line deep into the tunnel near the double doors, but the police fought back and, as the result

of officers’ sustained pushing, they recaptured the archway and ejected the rioters from the tunnel.

As this occurred, beginning at approximately 4:26 p.m., a group of rioters renewed their attack on

the police line in the Tunnel, in the apparent hope of retaking what they had just lost. The rioters

physically assaulted several of the officers. Rioters hit officers with sticks, a flagpole, and a crutch,

and threw objects into the Tunnel. Some of the rioters were in possession of police riot shields,

which they used against the officers. At least two police officers were dragged from the police line

and into the crowd where they were beaten. Additionally, and in response, officers on the front-

line used police batons and police shields to fend off the rioters, as they had been doing for nearly

two hours. Officers deeper in the Tunnel released OC spray in the rioters’ general direction.

        The defendants were positioned towards the right-hand side of the Tunnel. While in the

area of the Tunnel, the defendants passed up to other rioters a large blue pole and cans of what

appeared to be pepper spray, which were used against the police. One rioter just in front of Isaac

Westbury (seen wearing a red baseball cap) grabbed Officer C.M. around his neck and while

attacking him yelled “I’ll fuck you up.” Simultaneously, Aaron James reached toward a police

officer’s baton. Then, Isaac Westbury picked up a law enforcement shield off the ground and began

making his way from the corner outside the Tunnel towards the police line at the opening of the

Tunnel while holding the shield in front of him. Another rioter (seen wearing a plaid shirt, gloves,

grey knit cap, and face mask) began repeatedly striking Officer C.M. on the top of his head with a




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stick of some sort to the point that his helmet and face shield split in two. Isaac Westbury, with

Aaron James’ hand at his back and standing behind him, then pushed against Officer C.M. and

other officers positioned on the line using the law enforcement shield. Aaron James then picked

up a second law enforcement shield and moved closer to the opening of the Tunnel. Another rioter

seen ramming the police using a crutch stood to the right of the defendants. With their shields

pinned by the rioter’s crutch, the officers were unable to protect themselves from projectiles being

thrown by the mob. After pushing for 20 seconds, the rioter with the crutch tripped and fell. Aaron

James pulled the rioter away from the police line and helped him stand up. The rioter immediately

stood up, crutch still in hand, rammed the police line with the crutch a second time, and then swung

the crutch at an officer.

        Based on their actions on January 6, 2021, the defendants were charged with civil disorder,

under 18 U.S.C. § 231; assaulting officers using a dangerous weapon, under 18 U.S.C. § 111(a)(1)

and (b) and 2; entering and remaining in a restricted grounds with a dangerous weapon, under 18

U.S.C. § 1752(a)(1) and (b)(1)(A); disorderly and disruptive conduct in a restricted building or

grounds with a dangerous weapon, under 18 U.S.C. § 1752(a)(2) and (b)(1)(A); engaging in

physical violence in a restricted building or grounds with a dangerous weapon, under 18 U.S.C. §

1752(a)(4) and (b)(1)(A); disorderly and disruptive conduct on Capitol Grounds, under 40 U.S.C.

§ 5104(e)(2)(D); engaging in acts of physical violence in the Capitol grounds, under 40 U.S.C. §

5104(e)(2)(F); and parading and demonstrating in a Capitol building, under 40 U.S.C. §

5104(e)(2)(G).

        The defendants now move for a change of venue. They contend that prejudice should be

presumed in this district for several reasons: (1) the pretrial publicity surrounding the events of




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January 6, (2) the characteristics of the D.C. jury pool, and (3) the results of surveys of potential

jurors. Each of the defendants’ arguments is without merit, and the motion should be denied.

                                           ARGUMENT

       The Constitution provides that “[t]he trial of all Crimes . . . shall be held in the State where

the said Crimes shall have been committed.” U.S. Const. Art. III, § 2, cl. 3. The Sixth Amendment

similarly guarantees the right to be tried “by an impartial jury of the State and district wherein the

crime shall have been committed.” U.S. Const. amend. VI. These provisions provide “a safeguard

against the unfairness and hardship involved when an accused is prosecuted in a remote place.”

United States v. Cores, 356 U.S. 405, 407 (1958). Transfer to another venue is constitutionally

required only where “extraordinary local prejudice will prevent a fair trial.” Skilling v. United

States, 561 U.S. 358, 378 (2010); see Fed. R. Crim. P. 21(a) (requiring transfer to another district

if “so great a prejudice against the defendant exists in the transferring district that the defendant

cannot obtain a fair and impartial trial there”).

       The primary safeguard of the right to an impartial jury is “an adequate voir dire to identify

unqualified jurors.” Morgan v. Illinois, 504 U.S. 719, 729 (1992) (italics omitted). Thus, the best

course when faced with a pretrial publicity claim is ordinarily “to proceed to voir dire to ascertain

whether the prospective jurors have, in fact, been influenced by pretrial publicity.” United States

v. Campa, 459 F.3d 1121, 1146 (11th Cir. 2006) (en banc). “[I]f an impartial jury actually cannot

be selected, that fact should become evident at the voir dire.” United States v. Haldeman, 559 F.2d

31, 63 (D.C. Cir. 1976) (en banc) (per curiam). And, after voir dire, “it may be found that, despite

earlier prognostications, removal of the trial is unnecessary.” Jones v. Gasch, 404 F.2d 1231, 1238

(D.C. Cir. 1967).




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I.     The Pretrial Publicity Related to January 6 Does Not Support a Presumption of
       Prejudice in This District.

       The defendant contends that a change of venue is warranted based on pretrial publicity.

ECF No. 130 at 16-19. “The mere existence of intense pretrial publicity is not enough to make a

trial unfair, nor is the fact that potential jurors have been exposed to this publicity.” United States

v. Childress, 58 F.3d 693, 706 (D.C. Cir. 1995); see Murphy v. Florida, 421 U.S. 794, 799 (1975)

(juror exposure to “news accounts of the crime with which [a defendant] is charged” does not

“alone presumptively deprive[] the defendant of due process”). Indeed, “every case of public

interest is almost, as a matter of necessity, brought to the attention of all the intelligent people in

the vicinity, and scarcely any one can be found among those best fitted for jurors who has not read

or heard of it, and who has not some impression or some opinion in respect to its merits.” Reynolds

v. United States, 98 U.S. 145, 155-56 (1878). Thus, the “mere existence of any preconceived

notion as to the guilt or innocence of an accused, without more,” is insufficient to establish

prejudice. Irvin, 366 U.S. at 723. “It is sufficient if the juror can lay aside his impression or

opinion and render a verdict based on the evidence presented in court.” Id.

       The Supreme Court has recognized only a narrow category of cases in which prejudice is

presumed to exist without regard to prospective jurors’ answers during voir dire. See Rideau v.

Louisiana, 373 U.S. 723 (1963). In Rideau, the defendant’s confession—obtained while he was

in jail and without an attorney present—was broadcast three times shortly before trial on a local

television station to audiences ranging from 24,000 to 53,000 individuals in a parish of

approximately 150,000 people. Id. at 724 (majority opinion), 728-29 (Clark, J., dissenting). The

Court concluded that, “to the tens of thousands of people who saw and heard it,” the televised

confession “in a very real sense was Rideau’s trial—at which he pleaded guilty to murder.”

Rideau, 373 U.S. at 726. Thus, the Court “d[id] not hesitate to hold, without pausing to examine



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a particularized transcript of the voir dire,” that these “kangaroo court proceedings” violated due

process. Id. at 726-27.

       Since Rideau, the Supreme Court has emphasized that a “presumption of prejudice . . .

attends only the extreme case,” Skilling, 561 U.S. at 381, and the Court has repeatedly “held in

other cases that trials have been fair in spite of widespread publicity,” Nebraska Press Ass’n v.

Stuart, 427 U.S. 539, 554 (1976). In the half century since Rideau, the Supreme Court has never

presumed prejudice based on pretrial publicity. But see Estes v. Texas, 381 U.S. 532 (1965)

(presuming prejudice based on media interference with courtroom proceedings); Sheppard v.

Maxwell, 384 U.S. 333 (1966) (same). In fact, courts have declined to transfer venue in some of

the most high-profile prosecutions in recent American history. See In re Tsarnaev, 780 F.3d 14,

15 (1st Cir. 2015) (per curiam) (capital prosecution of Boston Marathon bomber); Skilling, 561

U.S. at 399 (fraud trial of CEO of Enron Corporation); United States v. Yousef, 327 F.3d 56, 155

(2d Cir. 2003) (trial of participant in 1993 World Trade Center bombing); United States v.

Moussaoui, 43 F. App’x 612, 613 (4th Cir. 2002) (per curiam) (unpublished) (terrorism

prosecution for conspirator in September 11, 2001 attacks); Haldeman, 559 F.2d at 70 (Watergate

prosecution of former Attorney General John Mitchell and other Nixon aides).

       In Skilling, the Supreme Court considered several factors in determining that prejudice

should not be presumed where former Enron executive Jeffrey Skilling was tried in Houston,

where Enron was based. Skilling, 561 U.S. at 382-83. First, the Court considered the “size and

characteristics of the community.” Id. at 382. Unlike Rideau, where the murder “was committed

in a parish of only 150,000 residents,” Houston was home to more than 4.5 million people eligible

for jury service. Id. at 382. Second, “although news stories about Skilling were not kind, they

contained no confession or other blatantly prejudicial information of the type readers or viewers




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could not reasonably be expected to shut from sight.” Id. Third, “over four years elapsed between

Enron’s bankruptcy and Skilling’s trial,” and “the decibel level of media attention diminished

somewhat in the years following Enron’s collapse.” Id. at 383. “Finally, and of prime significance,

Skilling’s jury acquitted him of nine insider-trading counts,” which undermined any “supposition

of juror bias.” Id.

       Although these Skilling factors are not exhaustive, courts have found them useful when

considering claims of presumptive prejudice based on pretrial publicity. See, e.g., In re Tsarnaev,

780 F.3d at 21-22; United States v. Petters, 663 F.3d 375, 385 (8th Cir. 2011). And contrary to

the defendant’s contention, those factors do not support a presumption of prejudice in this case.

       A.      Size and characteristics of the community

       The defendant suggests, ECF No. 130, at 2-4, 15 that an impartial jury cannot be found in

Washington, D.C., despite the District’s population of nearly 700,000. Although this District may

be smaller than most other federal judicial districts, it has a larger population than two states

(Wyoming and Vermont), and more than four times as many people as the parish in Rideau. The

relevant question is not whether the District of Columbia is as populous as the Southern District

of Texas in Skilling, but whether it is large enough that an impartial jury can be found. In Mu’Min

v. Virginia, 500 U.S. 415, 429 (1991), the Court cited a county population of 182,537 as supporting

the view than an impartial jury could be selected. And Skilling approvingly cited a state case in

which there was “a reduced likelihood of prejudice” because the “venire was drawn from a pool

of over 600,000 individuals.” Skilling, 561 U.S. at 382 (quoting Gentile v. State Bar of Nev., 501

U.S. 1030, 1044 (1991)). There is simply no reason to believe that, out of an eligible jury pool of

nearly half a million, “12 impartial individuals could not be empaneled.” Id.




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        B.      Nature of the pretrial publicity

        Nor does this case involve a “confession or other blatantly prejudicial information of the

type readers or viewers could not reasonably be expected to shut from sight.” Skilling, 561 U.S.

at 382. Even news stories that are “not kind,” Skilling, 561 U.S. at 382, or are “hostile in tone and

accusatory in content,” Haldeman, 559 F.2d at 61, do not alone raise a presumption of prejudice.

As in Skilling and Haldeman, the news coverage of the defendants is “neither as inherently

prejudicial nor as unforgettable as the spectacle of Rideau’s dramatically staged and broadcast

confession.” Id. Indeed, although any media characterizations of the defendants would be

inadmissible, the photos and videos of the defendants that have been disseminated would be both

admissible and highly relevant at trial.     Compare Sheppard, 384 U.S. at 360 (noting that

information reported by the media was “clearly inadmissible” and that “[t]he exclusion of such

evidence in court is rendered meaningless when news media make it available to the public”), with

Murray v. Schriro, 882 F.3d 778, 805 (9th Cir. 2018) (“There was no inflammatory barrage of

information that would be inadmissible at trial. Rather, the news reports focused on relaying

mainly evidence presented at trial.”); Henderson v. Dugger, 925 F.2d 1309, 1314 (11th Cir. 1991)

(“[B]ecause we have found [the defendant’s] confessions were admissible, the damage if any from

the [pretrial] publicity is negligible.”).

        The defendants assert that a fair trial cannot be had in D.C. because of the volume of news

coverage of January 6. ECF No. 130 at 16-19. But even “massive” news coverage of a crime does

not require prejudice to be presumed. Haldeman, 559 F.2d at 61. And a comparatively small

percentage of the news coverage of January 6 has focused on the Westburys. Unlike most cases

involving pretrial publicity, where the news coverage focuses on the responsibility of a single

defendant (as in Rideau or Tsarnaev) or small number of co-defendants (as in Skilling and




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Haldeman), the events of January 6 involved thousands of participants and have so far resulted in

charges against more than 900 people. The Court can guard against any spillover prejudice from

the broader coverage of January 6 by conducting a careful voir dire and properly instructing the

jury about the need to determine a defendant’s individual guilt.

       And, in any event, any threat of such spillover prejudice is not limited to Washington, D.C.

because much of the news coverage of January 6 has been national in scope. See Haldeman, 559

F.2d at 64 n.43 (observing that “a change of venue would have been of only doubtful value” where

much of the news coverage was “national in [its] reach” and the crime was of national interest);

United States v. Bochene, No. 21-cr-418-RDM, 2022 WL 123893, at *3 (D.D.C. Jan. 12, 2022)

(“The fact that there has been ongoing media coverage of the breach of the Capitol and subsequent

prosecutions, both locally and nationally, means that the influence of that coverage would be

present wherever the trial is held.” (internal quotation marks omitted)). As the Select Litigation

poll demonstrates, the number of potential jurors exposed to “[a] lot” of news coverage of January

6 differs only slightly between Washington, D.C. (33%) and Atlanta (30%). ECF No. 130 at 5-6,

16-19. 3 Thus, the nature and extent of the pretrial publicity do not support a presumption of

prejudice.




3
  The Defendants’ motion cites three surveys that have been conducted by other parties in
connection with other unsuccessful motions to change venue in January 6 cases: Select Litigation,
Zogby Strategies, and In Lux Research. ECF No. 130 at 5. But Defendants have failed to submit
those surveys as exhibits in support of their motion in this case. For that reason alone, this Court
need not consider any argument based on those purposed surveys. In any event, to facilitate any
review the Court deems appropriate, the government addresses the surveys that the Defendants
appear to cite. Based on the government’s review, it appears that those surveys can be found at
United States v. Mellors, Case No. 1:23-cr-00056, ECF No. 38-2; United States v. Garcia, Case
No. 1:21-cr-129, ECF No. 54-1; United States v. Caldwell et al., Case No. 1:21-cr-00028-APM,
ECF No. 662-1; and United States v. Nordean et al., Case No. 1:21-cr-00175-TJK, ECF No. 349-
1 and 349-1.


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       C.      Passage of time before trial

       In Skilling, the Court considered the fact that “over four years elapsed between Enron’s

bankruptcy and Skilling’s trial.” Skilling, 561 U.S. at 383. In this case, 36 months have already

elapsed since the events of January 6, and more time will elapse before trial. This is far more than

in Rideau, where the defendant’s trial came two months after his televised confession. Rideau,

373 U.S. at 724. Although January 6 continues to be in the news, the “decibel level of media

attention [has] diminished somewhat,” Skilling, 561 U.S. at 383. Moreover, only a relatively small

percentage of the recent stories have mentioned defendants’ names, and much of the reporting has

been national is scope, rather than limited to Washington, D.C.

       D.      The jury verdict

       Because the defendants have not yet gone to trial, the final Skilling factor—whether the

“jury’s verdict . . . undermine[s] in any way the supposition of juror bias,” Skilling, 561 U.S. at

383—does not directly apply. But the fact that Skilling considered this factor to be “of prime

significance,” id., underscores how unusual it is to presume prejudice before trial. Ordinarily, a

case should proceed to trial in the district where the crime was committed, and courts can examine

after trial whether the record supports a finding of actual or presumed prejudice. In short, none of

the Skilling factors supports the defendants’ contention that the Court should presume prejudice

and order a transfer of venue without even conducting voir dire.

II.    The Characteristics of the District of Columbia’s Jury Pool Do Not Support a Change
       of Venue.

       The defendants also contend that a D.C. jury cannot be impartial because of various

characteristics of the District’s jury pool: the political makeup of the District’s electorate, the

impact of January 6 on D.C. residents, and the prevalence of federal employees in the District.

ECF No. 130 at 4, 12-16. None of these claims has merit.



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       A.      The District of Columbia’s political makeup does not support a change of
               venue.

       The defendants contend that he cannot obtain a fair trial in the District of Columbia because

more than 92% of its voters voted for the Democratic Party candidate in the 2020 Presidential

Election. ECF No. 130 at 14. The en banc D.C. Circuit rejected a nearly identical claim in

Haldeman, where the dissent concluded that a venue change was required because “Washington,

D.C. is unique in its overwhelming concentration of supporters of the Democratic Party” and the

Democratic candidate received 81.8% and 78.1% of the vote when Nixon ran for President in 1968

and 1972, respectively. Haldeman, 559 F.2d at 160 (MacKinnon, J., concurring in part and

dissenting in part). The majority rejected the relevance of this fact, observing that authority cited

by the dissent gave no “intimation that a community’s voting patterns are at all pertinent to venue.”

Id. at 64 n.43; see also United States v. Chapin, 515 F.2d 1274, 1286 (D.C. Cir. 1975) (rejecting

the argument that “because of [the defendant’s] connection with the Nixon administration and his

participation in a ‘dirty tricks’ campaign aimed at Democratic candidates and with racial

overtones, a truly fair and impartial jury could not have been drawn from the District’s heavily

black, and overwhelmingly Democratic, population”).

       If “the District of Columbia’s voting record in the past two presidential elections” is not

“at all pertinent to venue” in a case involving high-ranking members of a presidential

administration, Haldeman, 559 F.2d at 64 n.43, it cannot justify a change of venue here. To be

sure, some potential jurors might be unable to be impartial in January 6 cases based on

disagreement with the defendants’ political aims. But whether individual prospective jurors have

such disqualifying biases can be assessed during voir dire. This Court should not presume that

every member of a particular political party is biased simply because this case has a political

connection. Indeed, the Supreme Court has stated in the context of an election-fraud trial, that



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“[t]he law assumes that every citizen is equally interested in the enforcement of the statute enacted

to guard the integrity of national elections, and that his political opinions or affiliations will not

stand in the way of an honest discharge of his duty as a juror in cases arising under that statute.”

Connors v. United States, 158 U.S. 408, 414 (1895). The same is true here. The District’s voting

record does not establish that this Court will be unable to select “an unbiased jury capable of basing

its verdict solely on the evidence introduced at trial.” Haldeman, 559 F.2d at 70.

       To the contrary, as the nation’s capital and seat of the federal government, the District has

been home to its fair share of trials in politically charged cases. High-profile individuals strongly

associated with a particular party, such as Marion Barry, John Poindexter, Oliver North, Scooter

Libby, Roger Stone, and Steve Bannon have all been tried in the District. See United States v.

Barry, 938 F.2d 1327 (D.C. Cir. 1991); United States v. Poindexter, 951 F.2d 369 (D.C. Cir. 1991);

United States v. North, 910 F.2d 843 (D.C. Cir. 1990) (per curiam); United States v. Libby, 498 F.

Supp. 2d 1 (D.D.C. 2007); United States v. Stone, No. 19-cr-0018 (ABJ), 2020 WL 1892360

(D.D.C. Apr. 16, 2020); United States v. Bannon, No. 210-cr-670 (CJN). Indeed, the Court in

Stone rejected the argument that jurors “could not possibly view [Roger Stone] independently from

the President” because of his role in the presidential campaign or that “if you do not like Donald

Trump, you must not like Roger Stone.” 2020 WL 1892360, at *30-31. Similarly here, the fact

that most District residents voted against Donald Trump does not mean those residents could not

impartially consider the evidence against those charged in connection with the events on January

6.

       B.      The impact of January 6 on Washington D.C. does not support a change of
               venue.

       The defendants contend that a D.C. jury could not be impartial because D.C. residents have

been particularly affected by events surrounding January 6, including the mayor’s declaration of a



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state of emergency, road closures, and a curfew. ECF No. 130 at 24-25. But January 6 is now

nearly two years in the past. Many D.C. residents do not live or work near the Capitol where the

roads were closed and the National Guard was deployed. There is no reason to believe that the

District’s entire population of nearly 700,000 people was so affected by these events that the Court

cannot seat an impartial jury here.

       Indeed, courts routinely conclude that defendants can receive a fair trial in the location

where they committed their crimes, despite the fact that some members of the community were

victimized. See In re Tsarnaev, 780 F.3d 14, 15 (1st Cir. 2015) (Boston Marathon bombing);

Skilling, 561 U.S. at 399 (Enron collapse); United States v. Yousef, 327 F.3d 56, 155 (2d Cir. 2003)

(1993 World Trade Center bombing); United States v. Moussaoui, 43 F. App’x 612, 613 (4th Cir.

2002) (per curiam) (unpublished) (September 11, 2001 attacks, including on the Pentagon). In

Skilling, the Supreme Court rejected the contention that Enron’s “sheer number of victims” in the

Houston area “trigger[ed] a presumption of prejudice.” Skilling, 561 U.S. at 384 (quotation

omitted). “Although the widespread community impact necessitated careful identification and

inspection of prospective jurors’ connections to Enron,” the voir dire was “well suited to that task.”

Id. In this case too, voir dire can adequately identify those D.C. residents who were so affected by

January 6 that they cannot impartially serve as jurors. There is no reason to presume prejudice.

       C.      The number of federal employees who reside in the District of Columbia does
               not support a change of venue.

       The defendants argue that the Court should presume prejudice in this District because the

jury pool would contain a high percentage of federal government employees or their friends and

family members. ECF No. 130 at 12-14. But the defendants do not explain how merely being

employed by the federal government would render a person incapable of serving as an impartial

juror. Although some federal employees, such as the U.S. Capitol Police, were affected by the



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events of January 6, many others were neither directly nor indirectly impacted. Indeed, many

federal employees were nowhere near the Capitol on January 6 given the maximum telework

posture of many federal agencies at the time. And the storming of the Capitol on January 6 was

not aimed at the federal government in general, but specifically at Congress’ certification of the

electoral vote. There is therefore no reason to believe that federal employees with little or no

connection to the events at the Capitol could not be impartial in this case. See United States v.

Bochene, No. CR 21-418 (RDM), 2022 WL 123893, at *2 (D.D.C. Jan. 12, 2022) (January 6

defendant’s claim that federal employees would “have a vested interest in supporting their

employer” was “exactly the kind of conjecture that is insufficient to warrant transfer prior to jury

selection”).

       Even assuming (incorrectly) that every federal employee is affected by improper bias, the

Court could draw a jury from those District residents who are not employed by the federal

government. According to the Office of Personnel Management, around 141,000 non-Postal

Service employees worked in Washington, D.C., in 2017. OPM, Federal Civilian Employment,

available at https://www.opm.gov/policy-data-oversight/data-analysis-documentation/federal-

employment-reports/reports-publications/federal-civilian-employment/.       But    many     federal

employees who work in the District live outside the District and would not be part of the jury pool.

And the District has nearly 700,000 residents. Thus, even if every federal employee were

disqualified, the Court would be able to pick a jury in this District.

III.   The Polls Submitted by the Defendants Do Not Support a Change of Venue.

       Defendants rely on three polls conducted at the request of defendants in other cases. ECF

No. 130 at 5. None of these polls supports a change of venue.

       The defendants rely on a poll conducted by Select Litigation, a private litigation consulting




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firm, at the request of the Federal Public Defender for the District of Columbia. Id. Select

Litigation conducted a telephone poll of potential jurors in the District of Columbia and in the

Atlanta Division of the Northern District of Georgia and contracted with a media research firm to

analyze news media coverage of January 6 in both of those jurisdictions. That poll does not support

the defendants’ request for a venue transfer.

       The defendants rely on a poll conducted by In Lux Research (“ILR”) at the request of

defendants charged in another case. ILR conducted a telephone poll of potential jurors in the

District of Columbia and in four other jurisdictions: the Ocala Division of the Middle District of

Florida, the Eastern District of North Carolina, and the Eastern District of Virginia. That poll does

not support the defendants’ request for a venue transfer.

       The defendants rely on a poll of D.C. residents conducted by John Zogby Strategies. That

poll does not support the defendants’ request for a venue transfer.

       A.      Courts have repeatedly declined to find a presumption of prejudice based on
               pretrial polling without conducting voir dire.

       The defendants argue that this Court should find a presumption of prejudice based on polls

of prospective jurors. But “courts have commonly rejected such polls as unpersuasive in favor of

effective voir dire as a preferable way to ferret out any bias.” United States v. Causey, 2005 WL

8160703, at *7 (S.D. Tex. 2005). As one circuit has observed, the Supreme Court’s emphasis on

the important role of voir dire in addressing pretrial publicity “undercuts” the “argument that poll

percentages . . . decide the question of a presumption of prejudice.” In re Tsarnaev, 780 F.3d 14,

23 (1st Cir. 2015) (per curiam); see Mu’Min v. Virginia, 500 U.S. 415, 427 (1991) (observing that,

“[p]articularly with respect to pretrial publicity, . . . primary reliance on the judgment of the trial

court makes good sense”).

       Indeed, the D.C. Circuit has rejected a claim of presumed prejudice based on the results of



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a pre-voir dire survey.     Haldeman, 559 F.2d at 64.          In Haldeman, seven former Nixon

administration officials (including the former Attorney General of the United States) were

prosecuted for their role in the Watergate scandal. Id. at 51. According to a poll commissioned

by the defense in that case, 93% of the Washington, D.C. population knew of the charges against

the defendants and 61% had formed the opinion that they were guilty. Id. at 144, 178 n.2

(MacKinnon, J., concurring in part and dissenting in part). Recognizing that the case had produced

a “massive” amount of pretrial publicity, id. at 61, the D.C. Circuit nevertheless held that the

district court “was correct” to deny the defendants’ “pre-voir dire requests for . . . a change of

venue,” id. at 63-64. The court observed that the district court “did not err in relying less heavily

on a poll taken in private by private pollsters and paid for by one side than on a recorded,

comprehensive voir dire examination conducted by the judge in the presence of all parties and

their counsel.” Id. at 64 n.43; see Jones, 404 F.2d at 1238 (observing that it is “upon the voir dire

examination,” and “usually only then, that a fully adequate appraisal of the claim [of local

community prejudice] can be made” (quotation omitted)).

       Other circuits have similarly rejected attempts to elevate polling results over voir dire. In

United States v. Campa, a pre-trial survey found that 69% of respondents were prejudiced against

anyone charged with spying on behalf of Cuba, as the defendants were. Campa, 459 F.3d at 1157

(Birch, J., dissenting). The en banc Eleventh Circuit affirmed the denial of a motion for change of

venue, explaining that “[w]hen a defendant alleges that prejudicial pretrial publicity would prevent

him from receiving a fair trial, it is within the district court’s broad discretion to proceed to voir

dire to ascertain whether the prospective jurors have, in fact, been influenced by pretrial publicity.”

Id. at 1146 (majority opinion).

       Similarly, in United States v. Rodriguez, 581 F.3d 775 (8th Cir. 2009), a poll indicated that




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99 percent of respondents had heard about the brutal rape and murder with which the defendant

was charged, nearly 88 percent of those respondents believed he was guilty, and about 42 percent

of respondents had a strongly held opinion of his guilt. Id. at 786; Brief for the Appellant, United

States v. Rodriguez, No. 07-1316 (8th Cir.), 2008 WL 194877, at *19. Nonetheless, the Eighth

Circuit found no presumption of prejudice, observing that a district court was not required “to

consider public opinion polls when ruling on change-of-venue motions.” Rodriguez, 581 F.3d at

786. And the court held that, in any event, the poll did not “demonstrate widespread community

prejudice” because the “media coverage had not been inflammatory,” two years had passed since

the murder, and “the district court concluded that special voir dire protocols would screen out

prejudiced jurors.” Id.

       There are good reasons to rely on voir dire, rather that public-opinion polls, when assessing

whether prejudice should be presumed. First, polling lacks many of the safeguards of court-

supervised voir dire, including the involvement of both parties in formulating the questions.

Surveys that are not carefully worded and properly conducted can produce misleading results, such

as by asking leading questions or providing the respondents with facts that will influence their

responses. See Campa, 459 F.3d at 1146 (noting problems with “non-neutral” and “ambiguous”

questions). Second, polling lacks the formality that attends in-court proceedings under oath, and

it does not afford the court the “face-to-face opportunity to gauge demeanor and credibility.”

Skilling, 561 U.S. at 395. Third, polls ordinarily inform the court only the extent to which

prospective jurors have heard about a case and formed an opinion about it. But that is not the

ultimate question when picking a jury. A prospective juror is not disqualified simply because he

has “formed some impression or opinion as to the merits of the case.” Irvin v. Dowd, 366 U.S.

717, 722 (1961). Instead, “[i]t is sufficient if the juror can lay aside his impression or opinion and




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render a verdict based on the evidence presented in court.” Id. at 723. But pre-trial surveys are

poorly suited to answering that ultimate question, which is best asked in the context of face-to-

face voir dire under oath. See Rosales-Lopez v. United States, 451 U.S. 182, 188 (1981) (observing

that the trial judge’s function in voir dire “is not unlike that of the jurors later in the trial” because

“[b]oth must reach conclusions as to impartiality and credibility by relying on their own

evaluations of demeanor evidence and of responses to questions”).

        In sum, federal courts have shown an overwhelming preference for assessing prejudice

through court-supervised voir dire rather than through public opinion polls. And the defendants

have not offered any reason to depart from that usual practice here. Thus, this Court need not give

substantial weight to the polling when considering whether to presume prejudice.                 But, as

explained below, the polls submitted by the defendants do not support a presumption of prejudice

in any event.

        B.      The Select Litigation poll does not demonstrate pervasive prejudice in the
                District of Columbia.

        Contrary to the defendants’ contention, the Select Litigation poll does not support a

presumption of prejudice in this District. As an initial matter, the Select Litigation poll selected

only one comparator jurisdiction—the Atlanta Division of the Northern District of Georgia. The

defendant has not requested a transfer to that district or division, but instead asks this Court for a

transfer to the District of Minnesota. The Select Litigation survey tells the Court nothing about

the views or media exposure of prospective jurors in that district. The poll therefore cannot show

that selecting an impartial jury would be any more difficult in the District of Columbia than in the

defendant’s preferred district. See United States v. Haldeman, 559 F.2d 31, 64 n.43 (D.C. Cir.

1976) (en banc) (per curiam) (observing that a change of venue “would have been only of doubtful

value” where the pretrial publicity was national in scope).



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       Furthermore, to the extent the poll is useful at a more general level in comparing the District

of Columbia to other districts, the poll indicates that levels of media exposure to the events of

January 6 are not significantly different in Atlanta than in Washington, D.C. The number of

respondents who had seen “[a] lot” of coverage in each jurisdiction differed only by three

percentage points (33% in D.C. versus 30% in Atlanta), which is within the margin of error. ECF

No. 38-2 at 1-2, 14. The number of respondents who had seen “[s]ome” coverage was exactly the

same (25% in both jurisdictions), and the number who had seen “[q]uite a bit” of coverage was

not significantly different (28% in D.C. versus 20% in Atlanta). Id. at 14. The total percentage of

respondents who were exposed to “[a] lot,” “[q]uite a bit,” or “[s]ome” news coverage was 86%

in Washington, D.C. and 75% in Atlanta. Id. at 14. This relatively small difference does not

suggest that news coverage has made it impossible to pick an impartial jury in Washington, D.C.

       The defendant points out that 71% of respondents in D.C. said they had formed the opinion

January 6 arrestees were “guilty” of the charges brought against them. See ECF No. 130 at 6. The

survey failed, however, to identify (much less define) any of the charges brought against the

defendant. It also failed to provide respondents with the option of saying they were “unsure” about

guilt, even though such an option is required by professional standards that apply in this area. See

American Society of Trial Consultants, Professional Standards for Venue Surveys at 9, available

at https://www.astcweb.org/Resources/Pictures/Venue%2010-08.pdf (“Respondents must be

made aware that they can say they do not know or have no opinion.”). The survey instead gave

respondents a binary choice between “guilty or not guilty.” ECF No. 38-2 at 14. Yet even without

being provided the appropriate options, 26% of D.C. respondents voluntarily gave an answer of

“Depends” or “Don’t know/Refused.” Id. This shows that, even in response to a poorly worded

question, more than a quarter of the District’s residents realized the need to keep an open mind




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about guilt.

       Understood in context, the Select Litigation poll does not indicate any higher degree of

juror bias than in Haldeman, where the en banc D.C. Circuit found no presumption of prejudice.

In Haldeman, 61% of respondents expressed a view that the defendants were guilty, as opposed to

the 71% here. See Haldeman, 559 F.2d at 144, 178 n.2 (MacKinnon, J., concurring in part and

dissenting in part). But the survey in Haldeman first asked respondents whether they had formed

an opinion about whether the indicted Nixon aides were guilty or innocent, giving options for both

“No” (i.e. had not formed an opinion) and “Don’t Know/No Opinion.” Id. at 178 n.2. The survey

then asked whether respondents thought the defendants were “guilty or innocent in the Watergate

affair,” giving options for “Not Guilty Until Proven” and “No Opinion/Don’t Know.” Id. Only

after (a) being prompted to consider whether they could actually form an opinion, and (b) being

reminded of the presumption of innocence, did 61% of respondents say “guilty.” Id. Here, by

contrast, respondents were not provided a “don’t know” option, were not reminded of the

presumption of innocence, and were asked only whether they thought the “several hundred people”

arrested in connection with January 6 were “guilty.” ECF No. 38-2 at 14 (Questions 3, 4).

       When asked about guilt in the context of a criminal trial, however, respondents in the Select

Litigation survey were far less likely to give an answer of “guilty.” Question 5 asked them to

“[a]ssume [they] were on a jury for a defendant charged with crimes for his or her activities on

January 6” and then asked whether they were “more likely to vote that the person is guilty or not

guilty.” ECF No. 38-2 at 14. In response to this question, only 52% of D.C. respondents said

“Guilty,” and fully 46% volunteered a response of “Depends” or “Don’t know/Refused.” Id. Thus,

when asked to consider guilt or innocence in the context of a “defendant charged with crimes,” as

opposed to the “several hundred people . . . arrested,” nearly half of D.C. residents were committed




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to keeping an open mind—even without being instructed on the presumption of innocence or being

provided an option for “Do not know.” This indicates, if anything, a lower degree of prejudice

than was present in Haldeman.

       The defendant points out (ECF No. 130 at 6) that, according to the Select Litigation poll,

84% of D.C. respondents had an “unfavorable” view of “people arrested for participating in the

events at the U.S. Capitol on January 6.” ECF No. 38-2 at 14. Although that is higher than the

54% of Atlantans with unfavorable views, it is quite similar to the results of a nationwide CBS

poll, which found that 83% of respondents “[s]omewhat disapprove” or “[s]trongly disapprove”

of the “actions taken by the people who forced their way into the U.S. Capitol on January 6.” See

CBS News Poll, December 27-30, 2021, Question 2, https://drive.google.com/file/d/

1QNzK7xBJeWzKlTrHVobLgyFtId9Cgsq_/view. The defendant has not asked to be tried in

Atlanta and has not provided any information about the views in the requested venue. And, in any

event, the fact that many D.C. residents have a generally “unfavorable” view of people “arrested”

on January 6 does not mean that an impartial jury cannot be selected in this jurisdiction.

       The defendant also points out (ECF No. 130 at 6) that 62% of D.C. respondents (compared

to 48% of Atlanta respondents) would describe “most of the people who were arrested for their

involvement in the events on January 6th” as “criminals.” ECF No. 38-2 at 14 (Question 10). The

answers to this question likely reflect the commonly held view that most people arrested for crimes

are in fact guilty of those crimes. But the fact that 62% of D.C. respondents expressed this off-

the-cuff view about “most” of the 900-plus January 6th arrestees does not demonstrate that all of

those respondents would be unable to impartially find the facts in a specific case after being

properly instructed by the Court. Moreover, the question demonstrates that fully 28% of D.C.

respondents would not describe those arrestees as criminals, and 9% were unsure or refused to




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answer. ECF No. 38-2 at 14. And the 14% difference between D.C. and Atlanta—which could

easily be explained by demographic differences such as age and education levels (see ECF No. 38-

2 at 15)—would not justify the conclusion that this is an “extreme case” in which a change of

venue is required. Skilling, 561 U.S. at 381.

       Nor should prejudice be presumed because a substantial numbers of respondents “would”

describe “the people who forced their way into the U.S. Capitol” as “[t]rying to overturn the

election and keep Donald Trump in power” (85%), engaging in “[i]nsurrection” (76%), or “[t]rying

to overthrow the U.S. government” (72%). ECF No. 38-2 at 15. For one thing, this question asked

specifically about those who “forced their way into the U.S. Capitol,” which suggests a higher

degree of culpability than simply entering the Capitol. For another, the poll did not provide an

“undecided” option but asked only whether respondents “would” or “would not” use those

descriptions. Id. Nor did the question define the offenses of “insurrection” or advocating the

overthrow of government, see 18 U.S.C. §§ 2383, 2385, offenses with which no defendant has

been charged in connection with January 6. And, most importantly, the poll did not answer the

key question: whether a sufficient number of prospective jurors can “lay aside [their] impression[s]

or opinion[s] and render a verdict based on the evidence presented in court.” Irvin v. Dowd, 366

U.S. 717, 723 (1961); see Patton v. Yount, 467 U.S. 1025, 1029 (1984) (no presumption of

prejudice where nearly 99% of prospective jurors had heard of the case and 77% indicated on voir

dire that “they would carry an opinion into the jury box”). In short, the Select Litigation poll does

not come close to demonstrating that “12 impartial individuals could not be empaneled” in

Washington, D.C. Skilling, 561 U.S. at 382.

       C.      The In Lux Research poll does not demonstrate pervasive prejudice in the
               District of Columbia.

       Contrary to the defendant’s contention, the In Lux Research (“ILR”) poll does not support



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a presumption of prejudice in this District. As an initial matter, the defendant has not requested

transfer to any of the ILR survey’s three comparator jurisdictions—the Ocala Division of the

Middle District of Florida, the Eastern District of North Carolina, and the Eastern District of

Virginia. Instead, the defendant has requested a transfer to District of Minnesota. The ILR survey

tells the Court nothing about the views or media exposure of prospective jurors in that district.

The poll therefore cannot show that selecting an impartial jury would be any more difficult in the

District of Columbia than in the defendant’s preferred district. See United States v. Haldeman,

559 F.2d 31, 64 n.43 (D.C. Cir. 1976) (en banc) (per curiam) (observing that a change of venue

“would have been only of doubtful value” where the pretrial publicity was national in scope).

       Furthermore, to the extent the poll is useful at a more general level in comparing the District

of Columbia to other districts, the poll demonstrates that that respondents in all four jurisdictions

surveyed were aware of the events of January 6 at similar rates. ECF No. 38-2 at 24 (Question 1)

(93.12% of D.C. respondents “aware of” the demonstration at the U.S. Capitol, compared to

94.07% in Middle Florida, 91.60% in Eastern North Carolina, and 94.27% in Eastern Virginia).

The survey also shows that respondents’ media or conversational exposure to the events of January

6 did not vary significantly between jurisdictions. The survey asked respondents how often they

“see, read or hear about the events of January 6th from either the Media, Local Leaders or the

people around you.” ECF No. 38-2 at 21 (Question 4). The percentage of respondents reporting

“[a]t least 10 times a week” was only slightly higher in D.C., with a response rate of 32.02%,

compared to rates between 25% and 28% in the other three jurisdictions. ECF No. 38-2 at 24.

And the percentage of D.C. respondents answering “[s]everal times a week” or “[o]nce or twice a

week” were generally within one or two percentages points of respondents from other jurisdictions.

Id. (41.09% of D.C. respondents reported exposure “[s]everal times a week,” compared to 39.82%,




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39.30%, and 34.58% in the other jurisdictions, and 22.05% of D.C. respondents reporting exposure

“[o]nce or twice a week,” compared to 20.66%, 22.68%, and 23.99% in the other jurisdictions).

The survey thus confirms that exposure to reports of the events of January 6 is not confined to

D.C., and the relatively small different does not suggest that news coverage has made it impossible

to pick an impartial jury in Washington, D.C.

       The ILR survey’s summary focuses on responses to “prejudicial prejudgment” questions.

ECF No. 351-1 at 2. But those questions do not show that an impartial jury cannot be selected in

this District. The questions categorized as “prejudgment questions” were:

       (1) “Are you more likely to find a defendant charged with crimes for activities on January

           6th guilty or not guilty? Or is it too early to decide?” (72% of D.C. respondents

           answered “Guilty.”)

       (2) “In your opinion, which of the following terms best characterizes the Events of January

           6th? 1) An insurrection, 2) An attack, 3) A riot, 4) A protest that got out of control, 5)

           A rally.” (82% of D.C. respondents chose insurrection, attack, or riot.)

       (3) “Do you believe that the individuals who entered the Capitol on January 6th planned

           to do it in advance or decided to do it that day?” (71% of D.C. respondents selected

           “planned in advance.”)

       (4) “Do you believe The Events of January 6th were racially motivated?” (40% of D.C.

           respondents answered in the affirmative.)

ECF No. 351-1 at 2-3, 8, 21-22. The last three of these questions do not support a presumption of

prejudice because they have little relevance to the potential issues at trial. The trial in this case

would not require jurors to determine whether the events of January 6 were an “insurrection,” an

“attack,” a “riot,” or a “protest that got out of control.” Indeed, no defendant has been charged




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with the offense of insurrection, 18 U.S.C. § 2383, or of violating the Anti-Riot Act, 18 U.S.C.

§ 2101, in connection with the events of January 6.

       Nor would the charges in this case require the jurors to determine whether the defendant

“planned in advance” to enter the Capitol or whether the crimes were “racially motivated.” The

fact that some D.C. respondents have formed “prejudgments” on those questions does not

demonstrate that they cannot follow this court’s instructions and decide this case based on the law

and the evidence. And even if it did, the solution would be to exclude prospective jurors who

indicated “prejudgments” during voir dire. The ILR survey shows that some percentage of

respondents in all surveyed jurisdictions expressed these so-called “prejudgments.” ECF No. 351-

1 at 25 (Questions 6 and 9) (between 39% and 49% of respondents in other surveyed jurisdictions

thought entry into the Capitol was planned in advance, and between 11% and 20% believed the

events of January 6 were racially motivated). This demonstrates that a careful voir dire would be

necessary in any jurisdiction, and it fails to show that voir dire would be inadequate to weed out

biased jurors in the District of Columbia.

       Nor do the responses to the first “prejudicial prejudgment” question support a presumption

of prejudice. That question asked respondents whether, in the abstract, they were “more likely” to

find a defendant charged in connection with January 6 “guilty or not guilty.” The question failed

to ask about any specific crimes. And it failed to ask respondents whether they could keep an open

mind and decide a case based on the law and the evidence if selected as a juror. Yet the Supreme

Court has made clear that the key question in jury selection is whether a prospective juror could

“lay aside his impression or opinion and render a verdict based on the evidence presented in court.”

Irvin, 366 U.S. at 722-23.

       When focusing on whether prospective jurors could set aside their “prejudgments” and




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decide a case fairly, the ILR survey’s responses actually undermine the defendant’s claim that

prejudice should be presumed in this district. When asked whether it would be “possible for [them]

to be a fair and unbiased juror for a January 6th Defendant,” ECF No. 351-1 at 23, a full 70.13%

of D.C. respondents said that they “could,” id. at 26. This number was actually higher than the

affirmative responses in the other three jurisdictions: Middle Florida (61.29%), Eastern North

Carolina (65.38%), and Eastern Virginia (69.52%). Id.

       The ILR survey’s administrator asserts that “this representation may actually indicate a

failure to recognize or admit threats to fairness and impartiality.” ECF No. 351-1 at 5. But the

survey’s findings do not justify that assertion. The administrator claims that because D.C.

residents were more likely to characterize the events of January 6 as an “insurrection,” “attack,”

or “riot,” or to believe they were criminal, pre-planned, or racially motivated, id. at 22, 25, those

residents “demonstrate[d] an inability to identify or unwillingness to report previously disclosed

bias when asked if they could be a fair and impartial juror,” id. at 5. But this assumes, contrary to

clear decisions from the Supreme Court, that any knowledge of or preconceived opinions about a

case make a juror unable to be impartial. See Reynolds, 98 U.S. at 155-56; Irvin, 366 U.S. at 723.

It also assumes that these jurors would fail to report these views to a judge during voir dire.

Particularly because the ILR survey had already asked respondents specific questions that the

survey claims showed “prejudicial prejudgment,” there is no reason to believe that D.C.

respondents were somehow unable or “unwilling[]” to report their own biases when asked if they

could be impartial.

       Moreover, when asked if their “neighbors would be fair and unbiased jurors for a January

6th Defendant,” D.C. respondents still answered “Yes” at a higher rate than the other surveyed

districts. ECF No. 351-1 at 26 (53.25% in D.C., compared to 36.57% in Middle Florida, 45.10%




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in Eastern North Carolina, and 40.89% in Eastern Virginia). Thus, even when controlling for

respondents’ potential inability to discern their own biases, the survey does not indicate that D.C.

residents are substantially less able to be fair than prospective jurors from other jurisdictions. Nor

were D.C. respondents significantly more likely to worry about negative consequences to their

career or friendships if they were to “find[] a January 6th defendant Not Guilty.” Id. at 22, 26

(19.29% in D.C., compared to 17.68% in Middle Florida, 19.66% in Eastern North Carolina, and

18.56% in Eastern Virginia). The ILR survey does not support the conclusion that an impartial

jury cannot be found in Washington, D.C.

       D.      The Zogby poll does not demonstrate pervasive prejudice in the District of
               Columbia.

       Nor does the poll conducted by John Zogby Strategies at the request of another January 6

defendant, Gabriel Garcia, support a presumption of prejudice. In fact, there are particularly strong

reasons to doubt poll’s reliability. For one thing, the poll does not provide the Court with all the

information needed to assess its accuracy.         The American Society of Trial Consultants’

Professional Standards for Venue Surveys state the following:

       The trial consultant’s presentation of survey results to a court shall include [t]he
       questionnaire that was used in the survey, identification of the primary persons who
       performed the work (including their qualifications), and descriptions of how each
       of the following standard steps for conducting a survey was completed:
       - Design of the survey instrument.
       - Determination of eligibility and sampling measures.
       - Training of interviewers and supervisors to conduct the interviewing.
       - Interviewing procedures.
       - Dates of data collection
       - Calculation of sample completion rate.
       - Tabulation of survey data.

American Society of Trial Consultants (ASTC), Professional Standards for Venue Surveys at 7,

available at https://www.astcweb.org/Resources/Pictures/Venue%2010-08.pdf.

       The Zogby poll fails to provide critical information, such as how the 400 survey



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participants were selected for the vaguely described “online survey” and whether they self-

selected. ECF No. 54-1 at 2. See United States v. Thomley, No. 2:18-CR-18-KS-MTP, 2018 WL

5986754, at *2 (S.D. Miss. Nov. 14, 2018) (“The Court is . . . troubled by [the polling firm’s]

failure to explain how they selected their sample. Did they obtain responses online or via social

media? Did respondents self-select?”). Additionally, the explanation that is provided indicates

that the poll was underinclusive, in that it was only of “Washington DC registered voters,” ECF

No. 54-1 at 2, whereas this Court’s jury pool is generated based on voter registration, Department

of Motor Vehicles records, and D.C. income tax forms. Jury Selection Plan for the United States

District Court for the District of Columbia for the Random Selection of Grand and Petit Jurors at

1, available at https://www.dcd.uscourts.gov/sites/dcd/files/JurySelectionPlan2016.pdf.

       Moreover, the Zogby poll uses a number of compound, non-neutral, and leading questions.

See Campa, 459 F.3d at 1131-32, 1146 (affirming district court’s decision to reject venue survey

that used “ambiguous” and “non-neutral” questions). For example, Question 8 asked respondents

which description of January 6 “comes closer to your opinion,” giving options only for (A) “a dire

threat to the fabric of our nation and . . . the worst assault on US democracy since 9/11, Pearl

Harbor, or even the Civil War” or (B) “unwise and caused senseless damage to the Capitol building

and people’s lives, some of which were lost, but the events were not insurrectionist and did not

pose a threat to US democracy.” ECF No. 54-1 at 21, 40. These answers, in addition to being

compound, forced respondents into a binary choice between extreme options. For example, there

was no choice for someone who believed the events did pose a threat to U.S. democracy but did

not approach the level of 9/11, Pearl Harbor, or the Civil War. Nor was there a choice for someone

who believed the events did not pose a threat to U.S. democracy but was also unwilling to describe

them as “unwise” or “senseless.”




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       The survey’s next question asked whether respondents believed that “any individual who

was inside the US Capitol on January 6, 2021 should be convicted of insurrection.” ECF No. 54-

1 at 22, 40. This question is poorly worded, considering that hundreds of “individual[s] who w[ere]

inside the US Capitol on January 6” had every right to be there, including the Vice President, the

members of Congress, and the U.S. Capitol Police and U.S. Secret Service. Moreover, the question

provided no background on potential criminal offenses involved in the events of January 6 other

than “insurrection”—which the question does not define or describe, see 18 U.S.C. § 2383, and

with which no defendant has been charged in connection with the events of January 6. And the

setup for this question naturally prompted respondents to condemn the actions of January 6 rather

than to consider whether they actually believed everyone who entered the Capitol without

permission was an insurrectionist. In short, these questions have the earmarks of an inappropriate

“push poll” that is “primarily designed to influence survey respondents’ opinions in a particular

direction by presenting systematically biased information.” ASTC Professional Standards for

Venue Surveys at 7; see id. at 8 (“Efforts should be made to avoid context, wording or other

influences that raise the likelihood of responses due to social desirability or other response bias.”);

Campa, 459 F.3d at 1146 (observing that “the survey was riddled with non-neutral questions”).

       In addition, the Zogby poll is particularly unhelpful in determining whether transfer is

warranted because it fails to provide a comparison with the defendant’s preferred venue District

of Minnesota or any other district. According to the poll, 54% of respondents indicated their views

about January 6 were shaped more by national media sources, compared to only 39% that were

shaped by more local media sources. ECF No. 54-1 at 5. Thus, the Zogby poll fails to establish

that the views of D.C. voters are substantially different than potential jurors in other jurisdictions.

See Haldeman, 559 F.2d at 64 n.43 (observing that “a change of venue would have been of only




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doubtful value” where much of the news coverage was “national in [its] reach” and the crime was

of national interest). Indeed, the defendant may be less well known in Washington, D.C. than in

the District of Minnesota, where there has been local coverage of the defendants.

       The defendant contends that the Zogby poll shows that “73% of respondents believed that

anyone who merely entered the Capitol building on January 6, 2021 is guilty of insurrection.” ECF

No. 130 at 7. In fact, the Zogby poll showed that 73% of respondents who were “Very familiar”

or “Somewhat familiar” with January 6 held this belief. ECF No. 54-1 at 22 (277 of 380

respondents). When respondents who were “Not familiar/Not sure” are taken into account, the

percentage falls to 69%. Id. at 19, 22 (277 of 401 respondents). And this does not raise a

presumption of prejudice. In Patton v. Yount, nearly 99% of prospective jurors had heard of the

case, and 77% indicated on voir dire that “they would carry an opinion into the jury box,” yet the

Supreme Court rejected a claim of presumed prejudice. Patton, 467 U.S. at 1029. Thus, the

number of poll respondents who had formed a general opinion about January 6 defendants was

lower than in Patton, even though the Zogby poll did not ask respondents whether they could set

aside their opinions and determine guilt based solely on the evidence if called as jurors. Compare

Haldeman, 559 F.2d at 144, 178 n.2 (MacKinnon, J., concurring in part and dissenting in part)

(61% of survey respondents held the opinion that defendants were “guilty” in connection with

Watergate even when provided a survey option for “Not Guilty Until Proven”). At most, these

responses indicate the Court might have to call a somewhat larger venire in order to find 12

impartial jurors; they do not demonstrate that it is impossible to pick an unbiased jury.

       In any U.S. jurisdiction, most prospective jurors will have heard about the events of January

6, and many will have various disqualifying biases. But the appropriate way to identify and address

those biases is through a careful voir dire, rather than a change of venue based solely on pretrial




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polling and media analyses. As in Haldeman, there is “no reason for concluding that the population

of Washington, D. C. [i]s so aroused against [the defendant] and so unlikely to be able objectively

to judge [his] guilt or innocence on the basis of the evidence presented at trial” that a change of

venue is required. Haldeman, 559 F.2d at 62.

V.      The Publicity and Reduction of the Jury Pool Caused by Other January 6 Trials in
        this District Do Not Support a Change of Venue.

        The defendants argue that they are likely to be prejudiced by the publicity generated by

other recent trials involving charges based on the events of January 6. ECF No. 130 at 18.

Although the trials in those cases have generated media coverage, that coverage was not confined

to the District of Columbia and was focused on the defendants in those cases, without mentioning

the defendants. The defendant cannot show that jurors in this District, carefully selected after a

thorough voir dire and properly instructed in the law, would be more likely to convict them simply

because they were exposed to media coverage of other January 6 trials. Nor can the defendant

show that any such asserted prejudice would be meaningfully different in another jurisdiction,

given the national coverage of these trials. Additionally, by the time the defendant has gone to

trial, even more time will have passed since the siege at the Capitol on January 6, 2021, and since

these initial January 6 trials. And as more January 6 defendants go to trial, the level of media

attention given to each particular trial is likely to diminish.

VII.    The January 6-Related Jury Trials That Have Already Occurred Have Demonstrated
        the Availability of a Significant Number of Fair, Impartial Jurors in the D.C. Venire.

        At this point, more than a dozen January 6 cases have proceeded to jury trials, and the

Court in each of those cases has been able to select a jury without undue expenditure of time or

effort. See Murphy, 421 U.S. at 802-03 (“The length to which the trial court must go to select

jurors who appear to be impartial is another factor relevant in evaluating those jurors’ assurances




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of impartiality.”); Haldeman, 559 F.2d at 63 (observing that “if an impartial jury actually cannot

be selected, that fact should become evident at the voir dire”). Instead, the judges presiding over

nearly all of those trials were able to select a jury in one or two days. See United States v. Reffitt,

No. 21-cr-32, Minute Entries (Feb. 28 & Mar. 1, 2022); United States v. Robertson, No. 21-cr-34,

Minute Entry (Apr. 5, 2022); United States v. Thompson, No. 21-cr-161, Minute Entry (Apr. 11,

2022); United States v. Webster, No. 21-cr-208, Minute Entry (Apr. 25, 2022); United States v.

Hale-Cusanelli, No. 21-cr-37, Minute Entry (May 23, 2022); United States v. Anthony Williams,

No. 21-cr-377, Minute Entry (June 27, 2022); United States v. Bledsoe, No. 21-cr-204, Minute

Entry (July 18, 2022); United States v. Herrera, No. 21-cr-619, Minute Entry (D.D.C. August 15,

2022); United States v. Jensen, No. 21-cr-6, Minute Entries (Sep. 19 & 20, 2022); United States v.

Strand, No. 21-85, Minute Entry (D.D.C. Sep. 20, 2022); United States v. Alford, No. 21-cr-263,

Minute Entry (Sep. 29, 2022); United States v. Riley Williams, No. 21-cr-618, Minute Entries

(D.D.C. Nov. 7 & 8, 2022); United States v. Schwartz, No. 21-cr-178, Minute Entries (D.D.C.

Nov. 22 & 29, 2022); United States v. Gillespie No. 22-cr-60, Minute Entry (D.D.C. Dec. 19,

2022); United States v. Barnett, 21-cr-38, Minute Entries (D.D.C. Jan. 9 & 10, 2023); United States

v. Sheppard, No. 21-cr-203, Minute Entries (D.D.C. Jan. 20 & 23, 2023); United States v.

Eckerman, No. 21-CR-623, Minute Entry (D.D.C. Jan. 23, 2023). The only exceptions have trials

involving seditious conspiracy charges. See United States v. Rhodes, et al., No. 22-cr-15, Minute

Entries (Sept. 27, 28, 29; Dec. 6, 7, 8, 9, 2022). And, using the first five jury trials as exemplars,

the voir dire that took place undermines the defendant’s claim that prejudice should be presumed.

       In Reffitt, the Court individually examined 56 prospective jurors and qualified 38 of them

(about 68% of those examined). See Reffitt, No. 21-cr-32, ECF No. 136 at 121. The Court asked

all the prospective jurors whether they had “an opinion about Mr. Reffitt’s guilt or innocence in




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this case” and whether they had any “strong feelings or opinions” about the events of January 6 or

any political beliefs that it would make it difficult to be a “fair and impartial” juror. Reffitt, No.

21-cr-32, ECF No. 133 at 23, 30. The Court then followed up during individual voir dire. Of the

18 jurors that were struck for cause, only nine (or 16% of the 56 people examined) indicated that

they had such strong feelings about the events of January 6 that they could not serve as fair or

impartial jurors. 4

        In Thompson, the Court individually examined 34 prospective jurors, and qualified 25 of

them (or 73%). See Thompson, No. 21-cr-161, ECF No. 106 at 170, 172, 181, 190, 193. The court

asked the entire venire 47 standard questions, and then followed up on their affirmative answers

during individual voir dire. Id. at 4-5, 35. Of the nine prospective jurors struck for cause, only

three (or about 9% of those examined) were stricken based on an inability to be impartial, as

opposed to some other cause. 5

        Similarly, in Robertson, the Court individually examined 49 prospective jurors and

qualified 34 of them (or about 69% of those examined). See Robertson, No. 21-cr-34, ECF No.

106 at 73. The Court asked all prospective jurors whether they had “such strong feelings” about



        4
         For those struck based on a professed inability to be impartial, see Reffitt, No. 21-cr-32,
ECF No. 133 at 49-54 (Juror 328), 61-68 (Juror 1541), 112-29 (Juror 1046); ECF No. 134 at 41-
42 (Juror 443), 43-47 (Juror 45), 71-78 (Juror 1747), 93-104 (Juror 432), 132-43 (Juror 514); ECF
No. 135 at 80-91 (Juror 1484). For those struck for other reasons, see Reffitt, No. 21-cr-32, ECF
No. 134 at 35-41 (Juror 313, worked at Library of Congress); ECF No. 134 at 78-93 and ECF No.
135 at 3 (Juror 728, moved out of D.C.); ECF No. 135 at 6-8 (Juror 1650, over 70 and declined to
serve), 62-73 (Juror 548, unavailability), 100-104 (Juror 715, anxiety and views on guns), 120
(Juror 548, medical appointments); ECF No. 136 at 41-43 (Juror 1240, health hardship), 53-65
(Juror 464, worked at Library of Congress), 65-86 (Juror 1054, prior knowledge of facts).
        5
         For the three stricken for bias, see Thompson, No. 21-cr-161, ECF No. 106 at 51-53 (Juror
1242), 85-86 (Juror 328), 158-59 (Juror 999). For the six stricken for hardship or inability to focus,
see Thompson, No. 21-cr-161, ECF No. 106 at 44 (Juror 1513), 45 (Juror 1267), 49-50 (Juror 503),
50-51 (Juror 1290), 86-93 (Juror 229), 109-10 (Juror 1266).



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the events of January 6 that it would be “difficult” to follow the court’s instructions “and render a

fair and impartial verdict.” Robertson, No. 21-cr-34, ECF No. 104 at 14. It asked whether

anything about the allegations in that case would prevent prospective jurors from “being neutral

and fair” and whether their political views would affect their ability to be “fair and impartial.” Id.

at 13, 15. The Court followed up on affirmative answers to those questions during individual voir

dire. Of the 15 prospective jurors struck for cause, only nine (or 18% of the 49 people examined)

indicated that they had such strong feelings about the January 6 events that they could not be fair

or impartial. 6

        In Webster, the Court individually examined 53 jurors and qualified 35 of them (or 66%),

Webster, No. 21-cr-208, ECF No. 115 at 6, though it later excused one of those 35 based on

hardship, Webster, No. 21-cr-208, ECF No. 114 at 217-18. The Court asked all prospective jurors

whether they had “strong feelings” about the events of January 6 or about the former President that

would “make it difficult for [the prospective juror] to serve as a fair and impartial juror in this

case.” Webster, No. 21-cr-208, ECF No. 113 at 19. During individual voir dire, the Court followed

up on affirmative answers to clarify whether prospective jurors could set aside their feelings and

decide the case fairly. See, e.g., id. at 32-33, 41-42, 54-56, 63, 65-66. Only 10 out of 53

prospective jurors (or about 19%) were stricken based on a professed or imputed inability to be




        6
         For those struck based on a professed inability to be impartial, see Robertson, No. 21-cr-
34, ECF No. 104 at 26-34 (Juror 1431), 97-100 (Juror 1567); ECF No. 105 at 20-29 (Juror 936),
35-41 (Juror 799), 59-70 (Juror 696), 88-92 (Juror 429); ECF No. 106 at 27-36 (Juror 1010), 36-
39 (Juror 585), 58-63 (Juror 1160). For those struck for other reasons, see Robertson, No. 21-cr-
34, ECF No. 104 at 23-26 (Juror 1566, hardship related to care for elderly sisters), 83-84 (Juror
1027, moved out of D.C.); ECF No. 105 at 55-59 (Juror 1122, language concerns), 92-94 (Juror
505, work hardship); ECF No. 106 at 16-21 (Juror 474, work trip); 50-53 (Juror 846, preplanned
trip).



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impartial, as opposed to some other reason. 7 The Webster Court observed that this number “was

actually relatively low” and therefore “doesn’t bear out the concerns that were at root in the venue

transfer motion” in that case. Webster, No. 21-cr-208, ECF No. 115 at 7.

        In Hale-Cusanelli, the Court individually examined 47 prospective jurors and qualified 32

of them (or 68%). Hale-Cusanelli, No. 21-cr-37, ECF No. 91 at 106, 111. The Court asked

prospective jurors questions similar to those asked in the other trials. See Hale-Cusanelli, No. 21-

cr-37, ECF No. 90 at 72-74 (Questions 16, 20). Of the 15 prospective jurors struck for cause, 11

(or 23% of those examined) were stricken based on a connection to the events of January 6 or a

professed inability to be impartial. 8

        In these first five jury trials, the percentage of prospective jurors stricken for cause based

on partiality is far lower than in Irvin, where the Supreme Court said that “statement[s] of

impartiality” by some prospective jurors could be given “little weight” based on the number of

other prospective jurors who “admitted prejudice.” Irvin, 366 U.S. at 728. In Irvin, 268 of 430

prospective jurors (or 62%) were stricken for cause based on “fixed opinions as to the guilt of

petitioner.” Id. at 727. The percentage of partiality-based strikes in these first five January 6-



        7
         Nine of the 19 stricken jurors were excused based on hardship or a religious belief. See
Webster, No. 21-cr-208, ECF No. 113 at 46 (Juror 1464), 49-50 (Juror 1132), 61 (Juror 1153), 68
(Juror 951), 78 (Juror 419); Webster, No. 21-cr-208, ECF No. 114 at 102-04, 207, 217 (Juror 571),
188 (Juror 1114), 191 (Juror 176), 203-04 (Juror 1262). Of the ten other stricken jurors, three
professed an ability to be impartial but were nevertheless stricken based on a connection to the
events or to the U.S. Attorney’s Office. See Webster, No. 21-cr-208, ECF No. 113 at 58-60 (Juror
689 was a deputy chief of staff for a member of congress); Webster, No. 21-cr-208, ECF No. 114
at 139-41 (Juror 625’s former mother-in-law was a member of congress); 196-98 (Juror 780 was
a former Assistant U.S. Attorney in D.C.).
        8
         See Hale-Cusanelli, No. 21-cr-37, ECF No. 90 at 61-62 (Juror 499), 67-68 (Juror 872),
84-85 (Juror 206), 91-94 (Juror 653); ECF No. 91 at 2-5 (Juror 1129), 32 (Juror 182), 36 (Juror
176), 61-62 (Juror 890), 75-78 (Juror 870), 94-97 (Juror 1111), 97-104 (Juror 1412). For the four
jurors excused for hardship, see Hale-Cusanelli, No. 21-cr-37, ECF No. 90 at 77-79 (Juror 1524),
99 (Juror 1094); ECF No. 91 at 12 (Juror 1014), 31 (Juror 899).


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related jury trials—between 9% and 23% of those examined—is far lower than the 62% in Irvin.

The percentage in these cases is lower even than in Murphy, where 20 of 78 prospective jurors

(25%) were “excused because they indicated an opinion as to petitioner’s guilt.” Murphy, 421

U.S. at 803. Murphy said that this percentage “by no means suggests a community with sentiment

so poisoned against petitioner as to impeach the indifference of jurors who displayed no animus

of their own.” Id. As in Murphy, the number of prospective jurors indicating bias does not call

into question the qualifications of others whose statements of impartiality the Court has credited.

       Far from showing that “an impartial jury actually cannot be selected,” Haldeman, 559 F.2d

at 63, the first five January 6-related jury trials have confirmed that voir dire can adequately screen

out prospective jurors who cannot be fair and impartial, while leaving more than sufficient

qualified jurors to hear the case. The Court should deny the defendant’s request for a venue

transfer and should instead rely on a thorough voir dire to protect the defendant’s right to an

impartial jury.

                                          CONCLUSION

       For the foregoing reasons, the defendants’ motion to transfer venue should be denied.

Dated: January 30, 2024
                                               Respectfully submitted,

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